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PEARSON, J.

                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )     CASE NO. 4:17CV0131
                Plaintiff,                      )
                                                )
       v.                                       )     JUDGE BENITA Y. PEARSON
                                                )
S.H. BELL COMPANY,                              )
                                                )
                Defendant.                      )     ORDER



       The United States of America’s Motion for Entry of Consent Decree (ECF No. 6) is

pending before the Court.

       The Court has received a Second Submission of the Manganese Interest Group (MIG)

regarding United States’ Memorandum in Support of Motion for Entry of Consent Decree, dated

June 30, 2017 (“Second Submission”).

       On or before July 21, 2017, the United States shall consider and file with the Court the

Second Submission along with the United States’ response to this supplemental public comment.



       IT IS SO ORDERED.


 July 7, 2017                                  /s/ Benita Y. Pearson
Date                                         Benita Y. Pearson
                                             United States District Judge
